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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                           (Miami Division)
                                  Case No: 1:18-25429-CV-MGC

  MAITE MARTINEZ,

          Plaintiff,
  v.

  CHERRY BEKAERT, LLP,
  a Foreign for profit corporation,

        Defendant.
  _________________________________/

                                      NOTICE OF APPEARANCE

          Sundeep K. Mullick, Esq. of The Law Office of Lowell J. Kuvin, LLC hereby files his

  Notice of Appearance in the above-styled cause as counsel for Plaintiff.

          Respectfully submitted this 11th day of April, 2019.

                                           By: /s Sundeep K. Mullick __________
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                                                  Attorney for Plaintiffs



                                      CERTIFICATE OF SERVICE
           I hereby certify that on April 11, 2019, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF which will automatically send a copy of the foregoing to
  all registered counsel in this action.
                                          By: /s Sundeep K. Mullick __________
                                                 Sundeep K. Mullick, Esq.
                                                 Attorney for Plaintiff
                                                     1
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